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 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     DENNIS COOPER,                             Case No.:
11
                  Plaintiff,                    COMPLAINT FOR INJUNCTIVE
12                                              RELIEF AND DAMAGES FOR
           vs.                                  VIOLATION OF:
13
                                                1. AMERICANS WITH DISABILITIES
14   GRAND VIEW PROPERTY, LLC; and              ACT, 42 U.S.C. §12131 et seq.;
15   DOES 1 to 10,                              2. CALIFORNIA’S UNRUH CIVIL
                  Defendants.                   RIGHTS ACT, CAL CIV. CODE §§ 51 -
16                                              52 et seq.;
17                                              3. CALIFORNIA’S DISABLED
                                                PERSONS ACT, CAL CIV. CODE §54 et
18                                              seq.
19                                              4. CALIFORNIA’S UNFAIR
                                                COMPETITION ACT, CAL BUS & PROF
20                                              CODE § 17200, et seq.
21                                              5. NEGLIGENCE
22
23
24
           Plaintiff DENNIS COOPER (“Plaintiff”) complains of Defendants GRAND VIEW
25
     PROPERTY, LLC; and DOES 1 to 10 (“Defendants”) and alleges as follows:
26
     //
27
     //
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                                   COMPLAINT FOR DAMAGES - 1
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 1                                 JURISDICTION AND VENUE
 2         1.      The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 3   violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 4         2.      Pursuant to pendant jurisdiction, attendant and related causes of action,
 5   arising from the same nucleus of operating facts, are also brought under California law,
 6   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 7   54, 54., 54.3 and 55.
 8         3.      Venue is proper in this court pursuant to 28 USC §1391(b). The real
 9   property which is the subject of this action is located in this district, San Bernardino
10   County, California, and Plaintiff’s causes of actions.
11                                             PARTIES
12         4.      Plaintiff is a California resident with a physical disability with substantial
13   limitation in his ability to walk. Plaintiff is paraplegic, suffers from immobility
14   syndrome with chronic pain and requires the use of a wheelchair at all times when
15   traveling in public.
16         5.      Defendants are, or were at the time of the incident, the real property owners,
17   business operators, lessors and/or lessees of the real property for a gas station and
18   convenience store (“Business”) located at or about 13302 Ranchero Rd., Oak Hills,
19   California.
20         6.      The true names and capacities, whether individual, corporate, associate or
21   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
22   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
23   Court to amend this Complaint when the true names and capacities have been
24   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
25   fictitiously named Defendants are responsible in some manner, and therefore, liable to
26   Plaintiff for the acts herein alleged.
27         7.      Plaintiff is informed and believes, and thereon alleges that, at all relevant
28   times, each of the Defendants was the agent, employee, or alter-ego of each of the other



                                    COMPLAINT FOR DAMAGES - 2
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 1   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
 2   the things alleged herein was acting with the knowledge and consent of the other
 3   Defendants and within the course and scope of such agency or employment relationship.
 4         8.     Whenever and wherever reference is made in this Complaint to any act or
 5   failure to act by a defendant or Defendants, such allegations and references shall also be
 6   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 7   and severally.
 8                                 FACTUAL ALLEGATIONS
 9         9.     In or about August of 2022, Plaintiff visited the Business. The Business is a
10   gas station and convenience store business establishment, which is open to the public,
11   and is a place of public accommodation and affects commerce through its operation.
12   Defendants provide parking spaces for customers.
13         10.    While attempting to enter the Business during each visit, Plaintiff personally
14   encountered a number of barriers that interfered with his ability to use and enjoy the
15   goods, services, privileges, and accommodations offered at the Business. To the extent
16   of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
17   limited to, the following:
18                a.     Defendants failed to comply with the federal and state standards for
19                       the parking space designated for persons with disabilities. Defendants
20                       failed to provide the parking space identification sign with the
21                       International Symbol of Accessibility.
22                b.     Defendants failed to comply with the federal and state standards for
23                       the parking space designated for persons with disabilities. Defendants
24                       failed to post required signage such as “Van Accessible” and
25                       “Minimum Fine $250.”
26                c.     Defendant failed to maintain the parking space designated for persons
27                       with disabilities to comply with the federal and state standards.
28                       Defendants failed to maintain the paint on the ground as required.



                                   COMPLAINT FOR DAMAGES - 3
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 1         11.    These barriers and conditions denied Plaintiff the full and equal access to the
 2   Business. Plaintiff wishes to patronize the Business. However, Plaintiff is deterred from
 3   visiting the Business because his knowledge of these violations prevents him from
 4   returning until the barriers are removed.
 5         12.    Based on the violations, Plaintiff alleges, on information and belief, that
 6   there are additional barriers to accessibility at the Business after further site inspection.
 7   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 8   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 9         13.    In addition, Plaintiff alleges, on information and belief, that Defendants
10   knew that particular barriers render the Business inaccessible, violate state and federal
11   law, and interfere with access for the physically disabled.
12         14.    At all relevant times, Defendants had and still have control and dominion
13   over the conditions at this location and had and still have the financial resources to
14   remove these barriers without much difficulty or expenses to make the Business
15   accessible to the physically disabled in compliance with ADDAG and Title 24
16   regulations. Defendants have not removed such barriers and have not modified the
17   Business to conform to accessibility regulations.
18                                   FIRST CAUSE OF ACTION
19       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
20         15.    Plaintiff incorporates by reference each of the allegations in all prior
21   paragraphs in this complaint.
22         16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
23   shall be discriminated against on the basis of disability in the full and equal enjoyment of
24   the goods, services, facilities, privileges, advantages, or accommodations of any place of
25   public accommodation by any person who owns, leases, or leases to, or operates a place
26   of public accommodation. See 42 U.S.C. § 12182(a).
27         17.    Discrimination, inter alia, includes:
28




                                     COMPLAINT FOR DAMAGES - 4
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 1               a.    A failure to make reasonable modification in policies, practices, or
 2                     procedures, when such modifications are necessary to afford such
 3                     goods, services, facilities, privileges, advantages, or accommodations
 4                     to individuals with disabilities, unless the entity can demonstrate that
 5                     making such modifications would fundamentally alter the nature of
 6                     such goods, services, facilities, privileges, advantages, or
 7                     accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 8               b.    A failure to take such steps as may be necessary to ensure that no
 9                     individual with a disability is excluded, denied services, segregated or
10                     otherwise treated differently than other individuals because of the
11                     absence of auxiliary aids and services, unless the entity can
12                     demonstrate that taking such steps would fundamentally alter the
13                     nature of the good, service, facility, privilege, advantage, or
14                     accommodation being offered or would result in an undue burden. 42
15                     U.S.C. § 12182(b)(2)(A)(iii).
16               c.    A failure to remove architectural barriers, and communication barriers
17                     that are structural in nature, in existing facilities, and transportation
18                     barriers in existing vehicles and rail passenger cars used by an
19                     establishment for transporting individuals (not including barriers that
20                     can only be removed through the retrofitting of vehicles or rail
21                     passenger cars by the installation of a hydraulic or other lift), where
22                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
23               d.    A failure to make alterations in such a manner that, to the maximum
24                     extent feasible, the altered portions of the facility are readily
25                     accessible to and usable by individuals with disabilities, including
26                     individuals who use wheelchairs or to ensure that, to the maximum
27                     extent feasible, the path of travel to the altered area and the
28                     bathrooms, telephones, and drinking fountains serving the altered



                                 COMPLAINT FOR DAMAGES - 5
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 1                       area, are readily accessible to and usable by individuals with
 2                       disabilities where such alterations to the path or travel or the
 3                       bathrooms, telephones, and drinking fountains serving the altered
 4                       area are not disproportionate to the overall alterations in terms of cost
 5                       and scope. 42 U.S.C. § 12183(a)(2).
 6         18.    Where parking spaces are provided, accessible parking spaces shall be
 7   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 8   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 9   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
10   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
11   be van parking space. 2010 ADA Standards § 208.2.4.
12         19.    Under the ADA, the method and color of marking are to be addressed by
13   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
14   Building Code (“CBC”), the parking space identification signs shall include the
15   International Symbol of Accessibility. Parking identification signs shall be reflectorized
16   with a minimum area of 70 square inches. Additional language or an additional sign
17   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
18   parking space identification sign shall be permanently posted immediately adjacent and
19   visible from each parking space, shall be located with its centerline a maximum of 12
20   inches from the centerline of the parking space and may be posted on a wall at the
21   interior end of the parking space. See CBC § 11B-502.6, et seq.
22         20.    Moreover, an additional sign shall be posted either in a conspicuous place at
23   each entrance to an off-street parking facility or immediately adjacent to on-site
24   accessible parking and visible from each parking space. The additional sign shall not be
25   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
26   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
27   designated accessible spaces not displaying distinguishing placards or special license
28




                                   COMPLAINT FOR DAMAGES - 6
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 1   plates issued for persons with disabilities will be towed always at the owner’s expense…”
 2   See CBC § 11B-502.8, et seq.
 3         21.    Here, Defendants failed to provide the parking space identification sign with
 4   the International Symbol of Accessibility. In addition, Defendants failed to provide signs
 5   stating “Minimum Fine $250” and “Van Accessible.”
 6         22.    For the parking spaces, access aisles shall be marked with a blue painted
 7   borderline around their perimeter. The area within the blue borderlines shall be marked
 8   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
 9   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
10   be painted on the surface within each access aisle in white letters a minimum of 12 inches
11   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
12   11B-502.3.3.
13         23.    Here, Defendants failed to properly maintain the access aisles as there were
14   faded blue lines painted on the parking surface.
15         24.    A public accommodation shall maintain in operable working condition those
16   features of facilities and equipment that are required to be readily accessible to and usable
17   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
18   maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
19   violation of Plaintiff’s rights under the ADA and its related regulations.
20         25.    The Business has denied and continues to deny full and equal access to
21   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
22   discriminated against due to the lack of accessible facilities, and therefore, seeks
23   injunctive relief to alter facilities to make such facilities readily accessible to and usable
24   by individuals with disabilities.
25                                SECOND CAUSE OF ACTION
26                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
27         26.    Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



                                     COMPLAINT FOR DAMAGES - 7
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 1         27.    California Civil Code § 51 states, “All persons within the jurisdiction of this
 2   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
 3   national origin, disability, medical condition, genetic information, marital status, sexual
 4   orientation, citizenship, primary language, or immigration status are entitled to the full
 5   and equal accommodations, advantages, facilities, privileges, or services in all business
 6   establishments of every kind whatsoever.”
 7         28.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
 8   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
 9   for each and every offense for the actual damages, and any amount that may be
10   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
11   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
12   attorney’s fees that may be determined by the court in addition thereto, suffered by any
13   person denied the rights provided in Section 51, 51.5, or 51.6.
14         29.    California Civil Code § 51(f) specifies, “a violation of the right of any
15   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
16   shall also constitute a violation of this section.”
17         30.    The actions and omissions of Defendants alleged herein constitute a denial
18   of full and equal accommodation, advantages, facilities, privileges, or services by
19   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
20   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
21   51 and 52.
22         31.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
23   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
24   damages as specified in California Civil Code §55.56(a)-(c).
25                                  THIRD CAUSE OF ACTION
26                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
27         32.    Plaintiff incorporates by reference each of the allegations in all prior
28   paragraphs in this complaint.



                                     COMPLAINT FOR DAMAGES - 8
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 1         33.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
 2   entitled to full and equal access, as other members of the general public, to
 3   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
 4   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
 5   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
 6   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
 7   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
 8   places of public accommodations, amusement, or resort, and other places in which the
 9   general public is invited, subject only to the conditions and limitations established by
10   law, or state or federal regulation, and applicable alike to all persons.
11         34.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
12   corporation who denies or interferes with admittance to or enjoyment of public facilities
13   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
14   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
15   the actual damages, and any amount as may be determined by a jury, or a court sitting
16   without a jury, up to a maximum of three times the amount of actual damages but in no
17   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
18   determined by the court in addition thereto, suffered by any person denied the rights
19   provided in Section 54, 54.1, and 54.2.
20         35.    California Civil Code § 54(d) specifies, “a violation of the right of an
21   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
22   constitute a violation of this section, and nothing in this section shall be construed to limit
23   the access of any person in violation of that act.
24         36.    The actions and omissions of Defendants alleged herein constitute a denial
25   of full and equal accommodation, advantages, and facilities by physically disabled
26   persons within the meaning of California Civil Code § 54. Defendants have
27   discriminated against Plaintiff in violation of California Civil Code § 54.
28




                                    COMPLAINT FOR DAMAGES - 9
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 1           37.    The violations of the California Disabled Persons Act caused Plaintiff to
 2    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
 3    statutory damages as specified in California Civil Code §55.56(a)-(c).
 4                                 FOURTH CAUSE OF ACTION
 5                                 UNFAIR COMPETITION ACT
 6           38.    Plaintiff incorporates by reference each of the allegations in all prior
 7    paragraphs in this complaint.
 8           39.    Defendants have engaged in unfair competition, unfair or fraudulent
 9    business practices, and unfair, deceptive, untrue or misleading advertising in violation of
10    the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
11           40.    Defendants engage in business practices and policies that create systemic
12    barriers to full and equal access for people with disability in violation of state and federal
13    law.
14           41.    The actions and omissions of Defendants are unfair and injurious to
15    Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
16    unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
17    provided with goods and services provided to other consumers. Plaintiff seeks relief
18    necessary to prevent Defendants’ continued unfair business practices and policies and
19    restitution of any month that Defendants acquired by means of such unfair competition,
20    including profits unfairly obtained.
21                                    FIFTH CAUSE OF ACTION
22                                           NEGLIGENCE
23           42.    Plaintiff incorporates by reference each of the allegations in all prior
24    paragraphs in this complaint.
25           43.    Defendants have a general duty and a duty under the ADA, Unruh Civil
26    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
27    to the Plaintiff.
28




                                    COMPLAINT FOR DAMAGES - 10
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 1          44.    Defendants breached their duty of care by violating the provisions of ADA,
 2    Unruh Civil Rights Act and California Disabled Persons Act.
 3          45.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 4    has suffered damages.
 5                                     PRAYER FOR RELIEF
 6          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 7    Defendants as follows:
 8          1.     For preliminary and permanent injunction directing Defendants to comply
 9    with the Americans with Disability Act and the Unruh Civil Rights Act;
10          2.     Award of all appropriate damages, including but not limited to statutory
11    damages, general damages and treble damages in amounts, according to proof;
12          3.     Award of all reasonable restitution for Defendants’ unfair competition
13    practices;
14          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
15    action;
16          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
17          6.     Such other and further relief as the Court deems just and proper
18                               DEMAND FOR TRIAL BY JURY
19          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
20    demands a trial by jury on all issues so triable.
21
22    Dated: November 9, 2022                        SO. CAL. EQUAL ACCESS GROUP
23
24
25                                            By:    _/s/ Jason J. Kim_______________
                                                     Jason J. Kim, Esq.
26                                                   Attorneys for Plaintiff
27
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                                    COMPLAINT FOR DAMAGES - 11
